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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                  :
 SUSAN COMPETELLO,                                                :
                                              Plaintiff,          :
                                                                  :         24 Civ. 7861 (LGS)
                            -against-                             :
                                                                  :              ORDER
 DOOBIEZ LLC,                                                     :
                                              Defendant.          :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS, the Order dated October 21, 2024, required the parties to file a proposed case

management plan and joint letter seven (7) days before the initial pretrial conference;

          WHEREAS, the initial pretrial conference is currently scheduled for December 11, 2024, at 4:20

p.m.;

          WHEREAS, Defendant has not appeared, and Plaintiff has not filed proof of service on the

docket;

          WHEREAS, the parties failed to submit timely the joint letter or proposed case management

plan; it is hereby

          ORDERED that if Plaintiff has been in communication with Defendant, then the parties shall

file the joint status letter and proposed case management plan as soon as possible and no later than

December 9, 2024, at noon. If Plaintiff has not been in communication with Defendants, she shall file a

status letter regarding her efforts to serve Defendants and request an adjournment of the initial

conference as soon as possible and no later than December 9, 2024, at noon.

          ORDERED that the initial pretrial conference scheduled for December 11, 2024, is adjourned to

December 18, 2024, at 4:20 P.M.

Dated: December 5, 2024
       New York, New York
